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Case 2:10-md-02179-CJB-DPC Document 1900-6 Filed 04/08/11 Page 1of 3

Filed 10 September 2 AG:59
Loren Jackson - District Clerk
Hanis County
ED101J015939563

CAUSE NO. 2010-52092 By: Ina medina

BUDDY TRAHAN § IN THE DISTRICT COURT OF
§
Plaintiff, §
§ HARRIS COUNTY, TEXAS
VS. 8
9 th
BP, PLC, etal § 270 JUDICIAL DISTRICT
§
Defendants. § Jury Trial Requested
ORIGINAL ANSWER

Defendant Cameron International Corporation (“Cameron”) and files this its Original

Answer and in support thereof would respectfully show unto the Court as follows:

IL.
GENERAL DENIAL

l, Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Cameron denies each

and every, all and singular, of the allegations asserted by Plaintiffs and demands strict proof

thereof.

Ik.
FURTHER MATTERS

2. Cameron reserves the right to amend its answer as permitted by the Texas Rules

of Civil Procedure.

EXHIBIT

Cc

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Case 2:10-md-02179-CJB-DPC Document 1900-6 Filed 04/08/11 Page 2 of 3

RESPECTFULLY SUBMITTED,

BEC DDEN & SECREST, L-L-P.

bmn fe

David. #7 Beck

Fedéfal Bar No. 919

State Bar No. 00000070

Joe W. Redden, Jr.

Federal Bar No. 2139

State Bar No. 16660600

David W. Jones

Federal Bar No.

State Bar No. 00790980

Jim Taylor

State Bar No. 0078512
1221 McKinney Street, Suite 4300
Houston, Texas 77010-2029
Telephone: 713-951-3700
Facsimile: 713-951-3720

ATTORNEY FOR DEFENDANT
CAMERON INTERNATIONAL
CORPORATION

CERTIFICATE OF SERVICE

I certify that a true and correct copy of this document was se ed in compliance with the
Texas Rules of Civil Procedure on ali counsel of record Ven 2, 10:

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I, Loren Jackson, District Clerk of Harris
County, Texas certify that this is a true and
correct copy of the original record filed and ot
recorded in my office, electronically or hard
copy, as it appears on this date

Witness my official hand and seal of office
this September 3, 2010

Certified Document Number; 46246513 Totel Pages: 2

LOREN JACKSON, DISTRICT CLERK
HARRIS COUNTY, TEXAS

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